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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

   JOEL STEPHEN ROBINSON,

           Plaintiff,                                         Case No.: 1:24-cv-04201

   v.                                                         Judge Jorge L. Alonso

   THE PARTNERSHIPS AND UNINCORPORATED      Magistrate Judge Young B. Kim
   ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

           Defendants.



                           JOINT STIPULATION OF DISMISSAL

        Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff, JOEL STEPHEN ROBINSON

(“Robinson” or “Plaintiff”) and Defendant No. 22 shashamo (“Defendant”), identified in Schedule

A of the Complaint, hereby advise this Court that they have reached a settlement and hereby

stipulate to a dismissal, without prejudice.

        Each party is to bear its own attorneys’ fees, costs and expenses.


Dated: June 25, 2024                                  Respectfully submitted,

 /s/ Keith A. Vogt                                     /s/ Timothy A. Duffy
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 ATTORNEY FOR PLAINTIFF                                ATTORNEY FOR DEFENDANT
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                                 CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on June 25, 2024 with the Clerk of the Court using the CM/ECF
system, which will automatically send an email notification of such filing to all registered attorneys
of record.

                                                              /s/ Keith A. Vogt
                                                              Keith A. Vogt




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